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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                      )
                                              )
         v.                                   )      CRIMINAL NO. 21-CR-177(CRC)
                                              )
                                              )
DANIEL D. EGTVEDT                             )

                                      NOTICE OF FILING

         The Defendant, Daniel Egtvedt, by his counsel, Kira Anne West, hereby files notice to the

Court that 7 video exhibits that the Court has previously viewed at trial were uploaded for purposes

of defendant’s argument for sentencing on March 16, 2023.


                                              Respectfully submitted,

                                              KIRA ANNE WEST

                                      By:              /s/
                                              Kira Anne West
                                              DC Bar No. 993523
                                              712 H Street N.E., Unit 509
                                              Washington, D.C. 20002
                                              Phone: 202-236-2042
                                              kiraannewest@gmail.com


                                  CERTIFICATE OF SERVICE

         I hereby certify on the 13th day of March, 2023 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                          /S/
                                                     Kira Anne West
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